   8:09-cr-00411-LSC-TDT Doc # 63 Filed: 05/17/10 Page 1 of 2 - Page ID # 195




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:09CR411
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )            TENTATIVE FINDINGS
                                              )
ARNEL KNIGHT,                                 )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 57). The government has adopted the PSR.

(Filing No. 60.) As an alternative to her objections tot he PSR, the Defendant filed a motion

for deviation (Filing No. 58). See "Order on Sentencing Schedule," ¶ 6. The Court advises

the parties that these Tentative Findings are issued with the understanding that, pursuant

to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to the quantity of controlled substance and base offense level

attributed to the Defendant in ¶ 29. The plea agreement recommends a base offense level

of 24 based on a quantity of at least 5 but less than 20 grams of a mixture or substance

containing cocaine base.      The Court’s tentative findings are that, absent unusual

circumstances, the plea agreement should be upheld and the base offense level should be

calculated as level 24. The Defendant’s guideline sentence then becomes the mandatory

minimum term of 60 months. Therefore, the motion for deviation is moot and will be denied

without prejudice.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the Defendant‘s objections (Filing No.

57) to the PSR are granted;
   8:09-cr-00411-LSC-TDT Doc # 63 Filed: 05/17/10 Page 2 of 2 - Page ID # 196




       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.     The Defendant’s motion for deviation (Filing No. 58) is denied without

prejudice.

       DATED this 17th day of May, 2010.

                                                  BY THE COURT:

                                                  S/ Laurie Smith Camp
                                                  United States District Judge




                                              2
